      Case 1:18-cv-00566-TJM-CFH Document 176-2 Filed 02/28/20 Page 1 of 5




                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF NEW YORK


 NATIONAL RIFLE ASSOCIATION OF                      §
 AMERICA,                                           §
                                                    §     DECLARATION OF SARAH B.
 Plaintiff,                                         §     ROGERS
                                                    §
 v.                                                 §
                                                    §     CIVIL CASE NO. 18-CV-0566
 ANDREW CUOMO, both individually and                §
 in his official capacity; MARIA T. VULLO,          §     TJM/CFH
 both individually and in her official              §
 capacity; and THE NEW YORK STATE                   §
 DEPARTMENT OF FINANCIAL                            §
 SERVICES,                                          §
                                                    §
 Defendants.                                        §

                       DECLARATION OF SARAH B. ROGERS
            IN SUPPORT OF APPLICATION FOR PRELIMINARY INJUNCTION

       I, Sarah B. Rogers, pursuant to 28 USC § 1746, declare as follows:

       1.      I am a partner at the firm Brewer, Attorneys & Counselors, counsel for the National

Rifle Association of America (“NRA”) in the above-captioned matter.

       2.      I submit this declaration pursuant to Federal Rule of Civil Procedure 65 and Local

Rule 7.1, in support of the NRA’s Application for Preliminary Injunction. The facts herein are true

and correct and, unless otherwise stated, are within my personal knowledge.

       3.       As counsel for the NRA, I have reviewed pleadings, and other documents related

to the Action, and I am familiar with the facts and circumstances of this case.

       4.       Attached hereto as Exhibit A are compiled true and correct copies of the Expert

Witness Report of John R. Cashin and the Rebuttal Expert Report of John R. Cashin previously

served March 19, 2019, and May 17, 2019, respectively, in the above-captioned matter.




DECLARATION OF SARAH B. ROGERS                Page 1
     Case 1:18-cv-00566-TJM-CFH Document 176-2 Filed 02/28/20 Page 2 of 5




       5.      Attached hereto as Exhibit B is a true and correct copy of the Expert Witness

Report of James W. Schacht, previously served March 19, 2019, and May 17, 2019, respectively,

in the above-captioned matter.

       6.      Attached hereto as Exhibit C is a compilation of true and correct copies of email

communications among DFS and Everytown For Gun Safety (“Everytown”), produced by

Defendants in the above-captioned matter.

       7.      Attached hereto as Exhibit D is a true and correct copy of Defendant Vullo’s First

Set of Interrogatories sent to the NRA dated December 6, 2019.

       8.      Attached hereto as Exhibit E is a true and correct copy of an excerpt from the

transcript of a conference conducted before Magistrate Judge Hummel on December 4, 2019, in

the above-captioned matter.

       9.      Attached hereto as Exhibit F is a compilation of true and correct copies of excerpts

from the website of the American Psychological Association.

       10.     Attached hereto as Exhibit G is a compilation of true and correct copies of excerpts

from the website of the Fraternal Order of Police.

       11.     Attached hereto as Exhibit H is a compilation of true and correct copies of excerpts

from the website of the New York State Bar Association.

       12.     Attached hereto as Exhibit I is a compilation of true and correct copies of excerpts

from the website of the Sierra Club.

       13.     Attached hereto as Exhibit J is a copy of Affinity-Group Plans dated September

11, 2011.

       14.     Attached hereto as Exhibit K is a copy of Bloomberg launches new $50 million

gun control effort dated April 16, 2014.




DECLARATION OF SARAH B. ROGERS                Page 2
     Case 1:18-cv-00566-TJM-CFH Document 176-2 Filed 02/28/20 Page 3 of 5




       15.     Attached hereto as Exhibit L is a copy of Everytown, Moms Demand Action

Statements Responding to Report That New York Department of Financial Services is Investigating

NRA Carry Guard Insurance dated October 25, 2017.

       16.     Attached hereto as Exhibit M is a copy of Gun issue is a lose-lose for banks

(whatever their stance) dated April 26, 2018.

       17.     Attached hereto as Exhibit N is a copy of Is New York using bank regulation to

suppress speech? dated April 22, 2018.

       18.     Attached hereto as Exhibit O is a copy of NRA slapping Cuomo with lawsuit over

blacklisting campaign, violating First Amendment rights dated May 11, 2018.

       19.     Attached hereto as Exhibit P is a copy of The ACLU Defends the NRA Over Andrew

Cuomo’s ‘Blacklisting Campaign’ dated August 25, 2018.

       20.     Attached hereto as Exhibit Q is a compilation of true and correct copies of excerpts

from the website of the National Education Association.

       21.     Attached hereto as Exhibit R is a compilation of true and correct copies of excerpts

from the website of the Seniors Coalition.

       22.     Since October 2017, the New York Department of Financial Services (“DFS”) has

conducted an investigation relating to certain NRA affinity-insurance products. As part of that

investigation, DFS served multiple subpoenas on the NRA. Over the course of the past two years,

the NRA has produced 68,807 pages of documents in response to DFS’s subpoenas, and furnished

testimony from 7 witnesses. The NRA has continued to respond in good faith to DFS’s subpoenas

during the pendency of the above-captioned case.




DECLARATION OF SARAH B. ROGERS                  Page 3
     Case 1:18-cv-00566-TJM-CFH Document 176-2 Filed 02/28/20 Page 4 of 5




       23.     On February 5, 2020, DFS noticed an administrative enforcement proceeding

against the NRA via a Statement of Charges and Notice of Hearing, a true and correct copy of

which is attached hereto as Exhibit S.

       24.     The NRA and DFS engaged in settlement negotiations, including following the

issuance of the above-referenced hearing notice. These negotiations did not bear fruit.

       25.     Before seeking this injunction, the NRA exhausted its administrative remedies: by

letter dated February 10, 2020, the NRA requested an adjournment of the noticed enforcement

proceeding pending adjudication of overlapping factual issues by this Court. A true and correct

copy of that letter is attached hereto as Exhibit T.

       26.     By letter dated February 19, 2020, DFS denied the NRA’s request. A true and

correct copy of that letter is attached hereto as Exhibit U.

       27.     The Statement of Charges and Notice of Hearing alleges violations of New York

Insurance Law §§ 2102(a)(1)(A), 2102(e)(1), 2117(a), 2122(a)(2), as well as a potential

“determined violation” under 2402(c) regarding affinity-insurance marketing materials.

       28.     The NRA proceeds by Order to Show Cause because, as set forth in the

memorandum of law and supporting expert declarations filed herewith, the commencement of a

DFS administrative enforcement proceeding against the NRA will interfere with this Court’s

adjudication of the NRA’s First Amendment and Equal Protection claims. DFS’s proceeding is

scheduled to commence on April 6, 2020 at 10:00 a.m. Accordingly, if the NRA proceeded by

Notice of Motion (including a pre-motion conference as required under the local rules of this

district), the administrative hearing which the NRA seeks to enjoin could occur before this Court

had any opportunity to rule on the NRA’s request for relief.




DECLARATION OF SARAH B. ROGERS                 Page 4
    Case 1:18-cv-00566-TJM-CFH Document 176-2 Filed 02/28/20 Page 5 of 5




       29.    On February 27, 2020, at 11:50 a.m., I telephoned William Scott, counsel for DFS

in this matter, and provided advance notice that the NRA intended to apply, by Order to Show

Cause, for a preliminary injunction staying any administrative enforcement proceeding by DFS

until overlapping factual issues in the above-captioned case have been adjudicated. I provided

follow-up notice by email at 12:15 p.m. to counsel for DFS and Ms. Vullo in this proceeding, as

well as to the DFS enforcement attorneys who issued the Notice of Hearing.

       I swear under penalty of perjury that the foregoing is true and correct.



                                                         Respectfully submitted,

       Dated: February 28, 2020


                                             By:       /s/ Sarah B. Rogers
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                                                       ATTORNEYS FOR THE NATIONAL
                                                       RIFLE ASSOCIATION OF AMERICA




DECLARATION OF SARAH B. ROGERS                Page 5
